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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                Plaintiff,
                                                               CASE NO: 4:15MJ3113
       vs.

NORMA RODRIGUEZ-ALVARADO,                                      DETENTION ORDER
              Defendant.

        The defendant is charged with a drug crime under the Controlled Substances Act (21
U.S.C. § 801 et seq.), for which the defendant could be required to serve ten or more years in
prison. On the government's motion, the court afforded the defendant an opportunity for a
detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f). The court concludes the
defendant must be detained.

        There is a rebuttable presumption that no condition or combination of conditions of
release will reasonably assure the defendant’s appearance at court proceedings and the safety of
the community because there is probable cause to believe the defendant committed a drug crime
under the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be
required to serve ten or more years in prison. The defendant has not rebutted this presumption.
        Based on the evidence presented and information of record, the court finds by a
preponderance of the evidence that the defendant's release would pose a risk of nonappearance at
court proceedings, and by clear and convincing evidence that the defendant's release would pose
a risk of harm to the public
        Specifically, the court finds that the defendant has a criminal record which indicates a
propensity to violate the law and court orders; is addicted or abuses mood-altering chemicals and
is likely to continue such conduct and violate the law if released; has limited employment
contacts; committed the alleged crime while on supervision; has mental health issues which will
pose a risk of harm if the defendant is released; and conditions which restrict Defendant’s travel,
personal contacts, and possession of drugs, alcohol, and/or firearms; require reporting, education,
employment, or treatment; or monitor Defendant’s movements or conduct; or any combination
of these conditions or others currently proposed or available (see 18 U.S.C. § 3142(c)), will not
sufficiently ameliorate the risks posed if the defendant is released.
                                 Directions Regarding Detention

        The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of the
United States Court or on request of an attorney for the Government, the person in charge of the
corrections facility must deliver the defendant to the United States marshal for a court
appearance.
       Dated December 17, 2015.                      BY THE COURT:
                                                     s/ Cheryl R. Zwart
                                                     United States Magistrate Judge
